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                     Exhibit 2
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                          THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH

CONSUMER FINANCIAL PROTECTION
BUREAU,
                                            AMENDED COMPLAINT
             Plaintiff,
                                            Case No. 2:23-cv-00462-JCB
             v.

SNAP FINANCE LLC, SNAP RTO LLC,
SNAP SECOND LOOK LLC, SNAP U.S.
HOLDINGS LLC, SNAP FINANCE
HOLDINGS LLC,

             Defendants.




       The Consumer Financial Protection (Bureau) brings this action against Snap

Finance LLC (Snap Finance), Snap RTO LLC (Snap RTO), Snap Second Look LLC (Snap

Second Look), Snap U.S. Holdings LLC (Snap U.S. Holdings), and Snap Finance Holdings

LLC (Snap Finance Holdings) (collectively, the Snap Defendants), and alleges the

following:

                                   INTRODUCTION

       1.    The Snap Defendants offer and provide so-called “lease-purchase” or “rental-

purchase” financing, through which consumers finance merchandise and services from

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merchants and, in turn, make payments back to the Snap Defendants. The Snap

Defendants target consumers with limited access to traditional forms of credit for their

financing, whom they refer to internally using the acronym ALICE, standing for “Asset-

Limited Income-Constrained and Employed.” The Snap Defendants’ “lease-purchase” and

“rental-purchase” agreements (Purchase Agreements or Agreements) have a default 12- or

18-month payment schedule, which typically amounts to more than double the cash price

of the financed merchandise or service. If consumers fall behind on payments, the

Purchase Agreements prevent consumers from terminating their future payment

obligations—effectively locking them into the 12-month schedule—even if they want to

return or surrender their financed merchandise.

       2.    Since at least January 2017, the Snap Defendants have designed and

implemented their financing program in ways that misled these consumers, failed to

provide them with required disclosures, and interfered with their ability to understand the

terms and conditions of their Purchase Agreements.

        1.    Since at least January 2017, the Snap Defendants have offered and

 provided more than three million of their Purchase Agreements to consumers in

 partnership with over 10,000 merchants in 47 states. Snap Finance, which is the

 consumer- and merchant-facing entity among the Snap Defendants, primarily partners

 with merchants in the following industries: tires and auto parts; furniture and

 mattresses; jewelry; auto electronics; and appliances.

       3.    Since at least January 2017, Snap Finance, which is the consumer-facing and

merchant-facing entity among the Snap Defendants, has partnered with merchants across

industries to offer and provide consumers with financing through Purchase Agreements.

Notably, since at least January 2017, Snap Finance has partnered with auto repair

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merchants to offer and provide financing through Purchase Agreements for one-time auto

repairs and services (engine repairs, transmission repairs, A/C system repairs, collision

repairs, etc.) for which consumers’ scheduled payments, whether over 12 or 18 months, are

not contemporaneous or substantially contemporaneous with the value received. Nor can

such one-time services be surrendered, possessed, or recalled. For example, consumers

cannot possess or return the one-time labor or services extended to fix their transmission,

see Exs. A and B, to fix their engine, see Exs. C and D, or for a collision repair, see Ex. E.

Nor can consumers surrender dried paint or dissipated fluids associated with such auto

repairs and services. See Exs. D and E.

       4.     Since at least January 2017, for consumers who finance auto repairs and

services through Purchase Agreements, the Snap Defendants’ merchant partners often

itemize the costs of the auto parts or merchandise being installed or replaced as part of the

invoice appended to the consumer’s Agreement. See Ex. D. The total amount consumers

owe under their Purchase Agreement is based on their invoice total, and is inclusive of

labor or service costs.

       5.     Since at least January 2017, for numerous consumers who financed auto

repairs and services through Purchase Agreements, their Agreements reflect that they

financed exclusively one-time labor or service costs not attendant to any auto parts or

merchandise. See Exs. A, F, and G.

       3.6.   For all such consumers who financed auto repairs and services through a

Purchase Agreement, the Snap Defendants’ illegal conduct pervaded virtually every step of

the consumer experience, from advertising to contracting to servicing.

       4.7.   Advertising. The Snap Defendants aggressively marketed their financing

to cash-strapped consumers through advertisements that obscured the true nature of their

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Purchase Agreements. In particular, Snap Finance provided auto repair merchants with

advertisements to display in their stores that misrepresented an early payment discount

option and failed to disclose the true costs consumers would incur under the Agreements.

 Agreements.
      5.8. Contracting. Through the fall of 2020, the Snap Defendants designed their

primary financing application for auto repairs and services to be completed—and for

consumers’ Purchase Agreements to be signed and submitted—on a merchant’s computer

or tablet. When consumers signed an Agreement, their understanding of its terms and

conditions often depended on an oral explanation from aan auto repair merchant’s sales

representative. But for years, Snap Finance failed to provide its auto repair merchant

partners with any written guidance for explaining the Purchase Agreements to consumers.

Auto repair merchants also frequently signed and submitted Purchase Agreements on

behalf of consumers without consumers’ prior review of their Agreement.

       6.9.    The Snap Defendants’ Purchase Agreements schedule automatic and

recurring preauthorized ACH debits from consumers’ bank accounts to continue for 12 or

18 months, amounting to approximately double the cash price of the financed

merchandise or service.auto repairs and services. The Snap Defendants’ contracting

process left many consumers who financed auto repairs and services misinformed, or

otherwise misled, regarding the cost and nature of the Agreement they had just entered.

       7.10. Servicing. The Snap Defendants’ illegal conduct continued throughout the

servicing process, including by threatening to take actions against consumers who

financed auto repairs and services that Snap Finance does not take in collections.

       8.11.   In the limited circumstances in which the Purchase Agreements permitted

consumers to terminate their payment obligations, Snap Finance’s misrepresentations

impeded consumers’ ability to do so.
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       9.12. Finally, despite furnishing consumer information about millions of Purchase

Agreements to at least one consumer reporting agencyand retail installment contracts on

behalf of Snap RTO and Snap Second Look, Snap Finance also failed to establish and

implement reasonable written policies and procedures concerning the accuracy and

integrity of the consumer information that it furnished.

        2.     Finally, from January 2017 to at least March 2020, the Snap Defendants’

 Purchase Agreements were “credit” and “credit sales” under the Truth in Lending Act

 (TILA) and its implementing Regulation Z. As such, the Snap Defendants were required

 to provide certain disclosures to help consumers assess the cost of their financing but

 failed to do so, depriving consumers of essential—and legally mandated—information.

 The Bureau brings this action under Sections 1036(a) and 1054 of the Consumer

 Financial Protection Act of 2010 (CFPA), 12 U.S.C. §§ 5536(a) and 5564; Section 918(a)

 of the Electronic Fund Transfer Act (EFTA), 15 U.S.C. § 1693o(a)(5), and its

 implementing Regulation E, 12 C.F.R. Part 1005; and Section 108(a) of TILA, 15 U.S.C. §

 1607(a), and its implementing Regulation Z, 12 C.F.R. Part 1026; and Section

       10.13. 621(b)(1)(H) of the Fair Credit Reporting Act (FCRA), 15 U.S.C.

§ 1681s(b)(1)(H), and its implementing Regulation V, 12 C.F.R. Part 1022, to stop the Snap

Defendants’ unlawful conduct, to rescind or reform the terms of their Purchase

Agreements with consumers, to obtain redress for affected consumers and an appropriate

penalty, and to obtain all other appropriate relief.

                               JURISDICTION AND VENUE

       11.14. This Court has subject-matter jurisdiction over this action because it is

brought under Federal consumer financial law, 12 U.S.C. § 5564(a)(1), presents a federal




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question, 28 U.S.C. § 1331, and is brought by an agency of the United States, 28 U.S.C §

1345.

        12.15. Venue is proper in this district because the Snap Defendants are located,

reside, and do business here. 12 U.S.C. § 5564(f).

                                        PLAINTIFF

        13.16. The Bureau is an independent agency of the United States charged with

enforcing “Federal consumer financial laws.” 12 U.S.C. § 5491(a).

        14.17. The Bureau is authorized to initiate proceedings in its own name and

through its own attorneys to address violations of Federal consumer financial law,

including the CFPA, EFTA and Regulation E, TILA and Regulation Z, and FCRA and

Regulation V. 12 U.S.C. §§ 5564(a)-(b), 5565.

                                 THE SNAP DEFENDANTS

        15.18. Snap Finance is a Utah limited liability company headquartered at 1193 West

2400 South, West Valley City, UT 84119. Snap Finance partners with merchants to

market, offer, and underwrite Purchase Agreements for consumers. In certain states, Snap

Finance also offers two unsecured installment loan products: Snap Loan and Snap

Credit+. If Snap Finance denies a consumer’s application for Snap Credit+ (which features

a longer default term and lower interest rate than Snap Loan), Snap Finance automatically

submits the consumer’s application for a Purchase Agreement or for a Snap Loan.

        16.19. Snap RTO is a Utah limited liability company headquartered at 1193 West

2400 South, West Valley City, UT 84119. Snap Finance provides underwriting,

originations, collections, and other services for Snap RTO. Snap RTO issues and holds

completed Purchase Agreements, which Snap Finance services.




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       17.20. Snap Second Look is a Utah limited liability company headquartered at 1193

West 2400 South, West Valley City, UT 84119. Snap Second Look purchases retail

installment contracts from merchants and participation interests in certain installment

loans originated by Transportation Alliance Bank, Inc. Snap Finance then services those

contracts on behalf of Snap Second Look.

       18.21. Snap U.S. Holdings is a Delaware limited liability company headquartered at

1193 West 2400 South, West Valley City, UT 84119. Snap U.S. Holdings owns 100% of the

equity interests in Snap Finance and Snap RTO, and is the sole manager of Snap Finance,

Snap RTO, and Snap Second Look.

       19.22. Snap Finance Holdings is a Utah limited liability company headquartered at

1193 West 2400 South, West Valley City, UT 84119. Snap Finance Holdings is a member of

Snap U.S. Holdings, and remains the ultimate parent of Snap Finance, Snap RTO, and

Snap Second Look.

       23.   From January 2017 to mid-2021, the Snap Defendants entered

approximately 2.6 million Purchase Agreements with consumers. During approximately

that same period, approximately 191,000 consumers contracted for a Snap Loan or

Credit+ financing.

       24.   According to an internal presentation from 2022, “Auto_Service” accounted

for 13.3 percent of the Snap Defendants’ business across its financing products. Separately,

“Tires_Rims” accounted for 31.2 percent and “Car_Audio” accounted for 6.5 percent of the

Snap Defendants’ business.

       20.25. The Snap Defendants operate as a common enterprise. Of the Snap

Defendants, only Snap Finance has employees. The Snap Defendants operate through

Snap Finance’s website and branding, and all share the same business address. From late

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2015 to late 2019, Snap Finance Holdings directly owned 100% of Snap Finance and Snap

RTO, and 88.1% of Snap Second Look. Throughout that period, four out of the five officers

for Snap Finance, Snap RTO, and Snap Second Look were also officers for Snap Finance

Holdings. In late 2019, those officers created Snap U.S. Holdings, which owns 100% of the

equity interests in Snap Finance and Snap RTO, and the officers went on to hold their

same position at all five of the Snap Defendants through at least December 2020 (Chief

Executive Officer, Chief Financial Officer, Chief Operating Officer, and Chief Legal

Officer). The Snap Defendants’ financial statements and balance sheets are all issued on a

consolidated basis. At the close of 2020, the Snap Defendants held $476 million in assets

and made nearly $114 million in net income for the year.

       21.26. An act by one entity constitutes an act by each entity comprising the

common enterprise. The Snap Defendants are each jointly and severally liable for the acts

and practices alleged below.

                     THE SNAP DEFENDANTS’ ADVERTISEMENTS

       22.27. When a merchant partners with the Snap Defendants, a Snap Finance sales

manager visits the store to set up the Merchant Portal and provide Snap Finance’s print

advertising materials for the merchant to display.

       23.28. Snap Finance requires its merchant partners to display only the print

advertisements that Snap Finance provides to them, or that Snap Finance otherwise

approves.

       24.29. From January 2017 through at least 2020, Snap Finance provided auto

repair merchants with advertisements to display in their stores that included the

prominent phrase “100 Day Cash Payoff” without any further explanation of the Purchase

Agreements. Rather, along with the prominent phrase “100 Day Cash Payoff,” Snap

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 Finance’s advertisements for its Purchase Agreements included phrases such as “No Credit

 Needed.”

  Agreements.




        25.30. In fact, Snap Finance automatically schedules consumers’ payments via

 preauthorized ACH debits to continue for the full 12 or 18 months of their Purchase

 Agreement, typically amounting to more than double the cash price of the financed auto

 repairs and services.

  Agreement, typically amounting to more than double the cash price of the financed

  merchandise or service.




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       26.31. To exercise a 100-day early payment discount option, which is always more

 than the “cash” price of the merchandise or service being financed, consumers must first

 learn of their payoff amount by contacting Snap Finance or accessing Snap Finance’s

 online customer portal, and then schedule a new payment amount or make a balloon

 payment before their 100-day deadline.

       27.32. Snap Finance does not send periodic statements to consumers, or otherwise

 affirmatively notify consumers of an impending deadline to exercise their 100-day early

 payment discount option.

       28.33. Consumers who miss this 100-day deadline must pay significantly more than

 the “cash” price under the terms of the Purchase Agreement.

       29.34. Consumers withwho financed auto repairs and services through Purchase

 Agreements commonly believed they had entered into a 100-day financing agreement,

 under which their automatically scheduled payments would fulfill their payment

 obligations by the close of the 100-day period.

                     THE SNAP DEFENDANTS’ MERCHANT PORTAL

       30.35. The Snap Defendants offer their financing exclusively through web-based

 applications at SnapFinance.com, at a merchant’s own website, or at a merchant’s

 storefront location through Snap Finance’s Merchant Portal.

       31.36. Snap Finance’s Merchant Portal is a website that merchants access through

 their own computers or tablets. Merchants use the Merchant Portal to help consumers

 apply for Snap Defendants’ financing and, if approved, sign their Purchase Agreement.

 Merchants also use the Merchant Portal to access trainings and resources that Snap

 Finance now provides.




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       32.37. From January 2017 to at least September 2020, approximately 63 percent of

 consumer applications that resulted in completed Purchase Agreements across industries

 were submitted through Snap Finance’s Merchant Portal.

       33.38. From January 2017 to at least September 2020, Merchant Portal

 applications for the Snap Defendants’ financing were primarily completed—and the

 resulting Purchase Agreements signed—on a merchant’s own computer or tablet.

       34.39. From January 2017 to at least September 2020, certainauto repair

 merchants frequently DocuSigned and submitted Purchase Agreements through the

 Merchant Portal on behalf of consumers without consumers’ prior review of their

 Agreement.

       40.    In January 2020, a Snap Finance Compliance Analyst responsible for

 addressing consumer complaints across industries emailed three Snap Finance employees

 the following: “[T]he customer is claiming that the salesperson at the store signed his

 agreement. As you may image [sic] this complaint is our most common complaint.”

       35.41. Snap Finance’s Merchant Portal application and contracting process tasks

 merchants with explaining the Snap Defendants’ Purchase Agreement. But Snap Finance

 did not provide merchantsits merchant partners with written training materials about

 Purchase Agreements until February 2020.

       36.42. From January 2017 to at least September 2020, auto repair merchants often

 failed to adequately explain the Snap Defendants’ Purchase Agreement to consumers at

 the point of sale, or otherwise misled consumers regarding the nature of the Agreement.

 Frequently, consumers did not understand that they were automatically scheduled to pay

 approximately double the cash price of their financed merchandise or serviceauto repairs




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 and services over the course of the 12-month payment period, or that their automatic

 payments would continue past the cash price or the 100-day early payment deadline.

          37.43. From January 2017 to at least September 2020, Snap Finance required auto

 repair merchants to collect a “processing fee” from consumers after Snap Finance

 approved them for a Purchase Agreement, but before merchants reached a screen in the

 Merchant Portal that included a summary of the terms of the consumer’s Agreement. As a

 result, approved consumers were required to pay a fee associated with their Agreement

 before receiving a complete summary of its terms, and before seeing or signing their final

 Agreement.

          44.   In an August 2020 internal training presentation about upcoming changes to

 its Merchant Portal, Snap Finance included the following observations regarding common

 consumer complaints across industries pertaining to Purchase Agreements: “The

 Complaint: ‘What do you mean COST OF LEASE? I never knew about that!’ We know this

 because we here [sic] comments like this all the time.” and “The Complaint: ‘They did not

 explain that at the store!’ We know this because we here [sic] comments like this all the

 time.”

                    THE SNAP DEFENDANTS’ PURCHASE AGREEMENTS

          38.45. Snap Finance requires consumers to provide their bank account information

 as part of the application process for Purchase Agreements. When consumers enter an

 Agreement, Snap Finance uses that banking information to schedule automatic payments

 from consumers’ accounts to continue for 12 or 18 months.

          39.46. Since at least January 2017, under all versions of the Snap Defendants’

 Purchase Agreements, a consumer’s term “automatically and repeatedly” renews across

 the full 12 or 18 months of the Agreement (or until the consumer successfully terminates

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 their payment obligations), regardless of whether the consumer makes their next

 scheduled payment.

       40.47. Since at least January 2017, all Purchase Agreements have included a

 “Customer Authorization for Payments via ACH” provision, under which consumers must

 agree to the preauthorization of ACH debits for the purpose of making payments required

 under the Agreement.

       41.48. Since at least January 2017, under all Purchase Agreements, consumers may

 only revoke their authorization for payments via ACH debit sometime after signing the

 Agreement.

       42.49. The total cost of the Snap Defendants’ Purchase Agreements over the 12- or

 18-month payment period typically amounts to more than double the cash price of the

 financed merchandise or service.

       43.50. Consumers have the option of paying off their Agreement within the first 100

 days for slightly more than the cash price of their merchandise or service through a “Cash

 Payoff Option” or a “100-Day Payment Option.” To take advantage of these early payment

 options, consumers must affirmatively change their scheduled payments by calling Snap

 Finance or using Snap Finance’s online customer portal, or by making a balloon payment

 before the deadline. Once the 100-day deadline passes, consumers can pay off their

 Purchase Agreement early by exercising an “Early Buyout Option” for a smaller discount

 on the amount consumers would have owed under the full 12-month payment period of

 their Agreement.

       44.51. From January 2017 through March 2020, nearly all of the Snap Defendants’

 Purchase Agreements featured a 60-day term, which automatically and repeatedly




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 renewed across the Agreement’s 12-month payment period. Consumers were not

 permitted to terminate their Agreement until the end of a 60-day term.

        45.52. Since at least January 2017, the Snap Defendants’ Purchase Agreements

 have stated, “You may terminate your lease payment obligations under this Agreement

 without penalty by paying all Regular Payments, fees and charges that are due or past due

 and voluntarily surrendering or returning the Property in its original condition, less

 reasonable wear and tear at the expiration of any lease term.” These Agreements also state,

 in connection with termination, that consumers “must promptly return the Property to us

 in accordance with our directions[.]”

        46.53. In servicing Purchase Agreements, Snap Finance informed consumers they

 could not terminate their future payment obligations under their Agreement until they

 made all payments due and past due through the end of their recurring 60-day term.

        54.    Since at least January 2017, the Snap Defendants’ Purchase Agreements

 used to finance auto repairs and services identify such one-time repairs and services as the

 “Property,” or as part of the “Property,” being purchased. See Exs. A–G.

        55.    The Snap Defendants’ auto repair merchant partners often code one-time

 labor or service costs—including for “auto repair,” “transmission repair,” “engine repair,”

 and “collision repair”—as costs for “Products” for the Snap Defendants’ recordkeeping

 when completing a Purchase Agreement within the Merchant Portal.

        56.    Likewise, the Snap Defendants’ auto repair merchant partners often group

 together “parts and labor” and code both as costs for “Products” for the Snap Defendants’

 recordkeeping when completing a Purchase Agreement within the Merchant Portal.

        47.57. In 2020, the Snap Defendants began offering revised Purchase Agreements

 in four states with a term that matches the consumer’s regular payment due date.

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        58.    Under all versions of the Snap Defendants’ Purchase Agreements for auto

 repairs and services, consumers’ scheduled payments across their initial term typically, or

 almost always, would not cover the costs of one-time labor or repairs. See Exs. A–G.

        48.59. The Snap Defendants’ revised Purchase Agreements also state that

 consumers may terminate their future payment obligations “[a]t any time . . . without

 penalty . . . by surrendering or returning to us the Property in its original condition, less

 reasonable wear and tear.” The Agreements also state, in connection with termination,

 that consumers “must return the Property to a reasonable place we designate.”

        49.60. Under all versions of the Snap Defendants’ Purchase Agreements, consumers

 are required to contact Snap Finance to obtain instructions for how to terminate their

 Agreement.

        61.    In 2022, the Snap Defendants began offering Purchase Agreements with 18-

 month payment periods.

        50.62. Under their Purchase Agreements, the Snap Defendants also warn

 consumers, without any explanation, accounting, or basis, of potential “fees, charges and

 taxes imposed by governmental authorities in connection with termination,” or of “official

 fees and taxes imposed in connection with termination, including, but not limited to any

 applicable fines, surcharges, and taxes.”

        51.63. Under their Purchase Agreements, the Snap Defendants inform consumers

 that they are responsible for “all maintenance, repairs, upkeep and care” of the financed

 property, that the consumer “will pay any operating costs” associated with the property,

 and that the consumer “will, at [their] expense, service the Property in accordance with

 manufacturer standards.”

   THE SNAP DEFENDANTS’ REPRESENTATIONS ABOUT CONSUMERS’ RIGHT TO
                TERMINATE THEIR PAYMENT OBLIGATIONS
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        52.64. Internally, Snap Finance considers a “return” to be when a consumer seeking

 to terminate their future payment obligations under their Purchase Agreement returns

 their financed merchandise“Property” back to the merchant where the sale occurred. Snap

 Finance considers a “surrender” to be when a consumer seeking to terminate their

 payment obligations returns their financed merchandise directly to Snap Finance, or to

 another place that Snap Finance designates (including a charity or a site for disposal).

        65.    Likewise, internally, Snap Finance considers a “cancellation” to be when a

 consumer’s Purchase Agreement is voided, and any payments made pursuant to that

 Agreement are refunded back to the consumer, typically after a merchant partner agrees to

 accept the return of any financed “Property.” Conversely, Snap Finance considers a

 “termination” to relate to the cessation of future payment obligations consumers would

 owe under their Agreement.

        53.66. Neither the Purchase Agreements, nor Snap Finance’s advertisements, nor

 its website explain thisthese internal distinctiondistinctions in terminology.

        54.67. In fact, the Purchase Agreements use both “surrendering” and “returning”

 when discussing consumers’ “Right to Terminate” their future payment obligations by

 returning their merchandise directly to Snap Finance, or to another place it designates,

 and also use the terms “Revocation, Cancellation, Termination” together, within a single

 provision.

         3.     Snap Finance included the following in its internal trainings for its

  employees: “Surrenders . . . We never surrender! Because we lose too much money and

  there is always a better more profitable option.”

        55.68. Snap Finance’s internal trainings also informed its employees that

 “Surrenders are a last resort. They [commonly receives complaints from consumers]

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 committed to this purchase who had financed auto repairs and services and should be held

 accountable.”who seek to terminate their future payment obligations.

         4.     Snap Finance’s internal trainings also included the following instruction to

  its employees: “We use qualifying as a way to get [consumers] to work with us and not

  surrender. The truth is we don’t want their used merchandise. We want the money they

  committed to paying back. Never Surrender is the motto because our losses on

  Surrenders and Repossessions are huge due to these factors.”

         5.     Here, “qualifying” refers to Snap Finance’s requirements that “the

  merchandise must be in proper and working condition” and that a “[c]ustomer must be

  current on payments and stay current on the account until their next term date.” Snap

  Finance instructed its employees: “It is the customer[’]s responsibility to call on the

  term date to continue with surrender.”




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         6.       Snap Finance also instructed its employees: To start the surrender

  process, “[t]he customer must clearly say [‘]I want to surrender.[’] Not [‘]cancel.[’]”

  Snap Finance confirmed: “CS representative should not offer Surrender proactively as

  an option[.]”

        56.69. When consumers who financed auto repairs and services call Snap Finance

 seeking to surrender or return their financed merchandise and terminate their future

 payment obligations under their Purchase Agreement, Snap Finance’s representatives

 typically instruct the consumer to attempt to return their merchandisediscuss the matter

 directly towith the auto repair merchant where the sale occurred.

        57.70. If a merchant does accept a returnIf an auto repair merchant agrees to

 “cancel” the consumer’s prior transaction, including by receiving as a return any parts

 installed as part of an auto repair or service, the merchant is required to refund the

 payment they received back to Snap Finance for the original sale.

        58.71. Commonly, Snap Finance’s auto repair merchant partners will not accept the

 return of a consumer’s financed merchandise.agree to “cancel” consumers’ prior auto

 repair and services transactions that include one-time labor or service costs.

        59.72. When auto repair merchants refuse to accept the return of merchandise from

 consumers seeking to terminate their Purchase Agreement“cancel” a consumer’s prior

 transaction, Snap Finance representatives frequently stateinform consumers seeking to

 terminate their future payment obligations that Snap Finance is obligated or contractually

 bound to follow the merchant’s “cancellation” or “return” policy, and thus consumers are

 required to continue making payments.

        60.73. In fact, the Snap Defendants’ Purchase Agreements provide consumers who

 financed auto repairs and services and who are current on their payment obligations with

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 the “Right to Terminate” their future payment obligations by returning or surrendering

 their financed merchandise to Snap Finance.

        7.     Snap Finance representatives also inform consumers seeking to terminate

  their future payment obligations that certain types of financed auto parts or

  merchandise, such as




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       61.74. mattresses, tires, installed as part of auto repairs and other auto parts or

 services, as well as the one-time labor or services, cannot be returned or surrendered, and

 thus consumers are required to continue making payments.

       62.75. In fact, the Snap Defendants’ Purchase Agreements include no such

 exceptions to consumers’ “Right to Terminate.”” their future payment obligations.

         8.    Snap Finance representatives also inform consumers seeking to terminate

  their Agreement by returning or surrendering their financed merchandise that reaching

  a new “buy-back” settlement agreement with Snap Finance and keeping the financed

  merchandise is their “best” or “only” option.

         9.    In fact, under the Snap Defendants’ Purchase Agreements, consumers

  current on their payment obligations have a “Right to Terminate” their future payment

  obligations by “surrendering or returning” their merchandise without entering into a

  new settlement agreement with Snap Finance.

         10.   Out of the nearly 1.7 million Purchase Agreements the Snap Defendants

  entered with consumers between January 2017 and January 2020, Snap Finance

  permitted consumers to “surrender” their financed merchandise in only 165 cases.

                  THE SNAP DEFENDANTS’ COLLECTION ACTIVITIES

       63.76. Since at least January 2017, after 40 days of non-payment, Snap Finance

 typically emails consumers with Purchase Agreements a collection notice titled “Demand

 for Payment and Return of Merchandise.”

       64.77. In that collection notice, Snap Finance states, “Failure to respond to this

 demand by [date], may result in further action.” Snap Finance also states, “Due to non-

 payment, we now require you to RETURN TO US the merchandise[.]” Snap Finance




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 confirms, “Do not return your merchandise to [merchant’s name]; this arrangement must

 be worked out with us directly.”

        65.78. Snap Finance ends its collection notice by directing consumers to contact

 Snap Finance at a phone number or email address to “discuss your options or give you

 instructions regarding the return of the merchandise.”

        66.79. Since at least January 2017, Snap Finance has not forcibly repossessed

 merchandise due to non-payment by a consumer, or otherwise taken legal action against a

 consumer due to non-payment for auto repairs and services.

        67.80. Further, from January 2017 to at least March 2020, the Snap Defendants’

 Purchase Agreements, as well as Snap Finance’s internal policies and procedures,

 prevented past-due consumers—including those to whom Snap Finance sent its “Demand

 for Payment and Return of Merchandise” notice—from surrendering or returning their

 financed merchandise“Property” directly to Snap Finance.

         11.    Since at least 2017, Snap Finance has also sent emails demanding payment

  to consumers who had already completed their payment obligations under their

  Purchase Agreement, to consumers who were current on their scheduled payments, and

  to consumers who had yet to, or had just received, their financed merchandise.

         12.    In fact, under the terms of their Purchase Agreements, none of those

  consumers had the payment obligations that Snap Finance demanded in its emails.

        81.    THE During subsequent calls, consumers have asked Snap Finance

 representatives, for example, “are they going to take this to court?” and “how do you [ ]

 possibly expect to legally take the brakes off my car?”

        82.    During subsequent calls with consumers with Purchase Agreements across

 industries, Snap Finance representatives have described its collection notice as “an empty

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 threat just to get customers to pay,” “just [ ] a demand to call back,” and as an automatic

 email “just to get customers to call in . . . [because] when we send that email we get phone

 calls.” A Snap Finance supervisor has also disclosed, “Because you got labor [ ] work . . .

 brakes done and everything, we are not going to be able to take that from you.”

               SNAP DEFENDANTS’FINANCE’S FURNISHING ACTIVITIES

        68.83. From January 2017 to at least June 2022, Snap Finance furnished consumer

 information about millions of Purchase Agreements held by Snap RTO to DataX, a

 consumer reporting agency that collects and provides consumer payment history on

 payday and installment loans, subprime credit cards, and other specialty loans.

        69.84. From January 2017 to at least June 2022, Snap Finance also furnished

 consumer information to DataX for most of the installment loans and retail installment

 contracts held by Snap Second Look. For a subset of Snap Second Look’s installment

 contracts, Snap Finance furnished consumer information to Experian.

        70.85. From January 2017 to at least June 2022, Snap Finance maintained one

 internal policy document concerning its responsibilities for furnishing consumer

 information relating to Purchase Agreements and installment contracts.

        71.86. Snap Finance’s sole internal policy document relating to its furnishing

 responsibilities failed to include any direction as to the steps employees should take, or the

 systems employees should consult, in order to furnish accurate consumer information for

 the millions of Purchase Agreements and installment contracts that it serviced during this

 period.

        72.87. Snap Finance’s sole internal policy document also failed to include any

 direction as to the steps employees should take, or the systems employees should consult,

 in order to conduct reasonable investigations of consumer furnishing disputes.

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                      THE FEDERAL CONSUMER FINANCIAL LAWS

                                          THE CFPA

        73.88. Sections 1031 and 1036 of the CFPA prohibit a “covered person” from

 committing or engaging in any “unfair, deceptive, or abusive act or practice” in connection

 with “any transaction with a consumer for a consumer financial product or service, or the

 offering of a consumer financial product or service.” 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).

        74.89. The CFPA defines “covered person” to mean “any person that engages in

 offering or providing a consumer financial product or service.” 12 U.S.C. § 5481(6).

        75.90. The CFPA defines “financial product or service” to include “extending credit

 and servicing loans.” 12 U.S.C. § 5481(15)(A)(i).

        76.91. The CFPA defines “credit” to mean “the right granted by a person to a

 consumer to defer payment of a debt, incur debt and defer its payment, or purchase

 property or services and defer payment for such purchase.” 12 U.S.C. § 5481(7).

        77.92. The Snap Defendants’ Purchase Agreements, which automatically renew

 across the full 12-month payment period regardless of whether a consumer makes their

 nextwhen used to finance one-time auto repairs and services that are not

 contemporaneous or substantially contemporaneous with consumers’ scheduled payment,

 and which require past-due consumers to continue paying under the full 12-month

 periodpayments, and that cannot be surrendered nor possessed, are “credit” because they

 allowgrant consumers tothe right “to defer payment of a debt, incur debt and defer its

 payment, or purchase property or services and defer payment for such purchase.”

         13.    In the alternative, the Snap Defendants offer or provide the consumer

  financial product or service of leases of personal property that are the functional

  equivalent of a purchase finance arrangement, that are on a non-operating basis, and

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  that, in reality, have initial terms of at least 90 days due to the inability of past-due

  consumers to terminate their future payment obligations under the Purchase Agreement

  within 90 days. 12 U.S.C. § 5481(15)(A)(ii).

         14.    The Snap Defendants also lead consumers to reasonably believe they are

  financing the purchase of property or services for which they are deferring payment, and

  are thus subject to the CFPA by “offering” a consumer financial product or service. See

  12 U.S.C. § 5531(a).
                                  EFTA AND REGULATION E

        78.93. EFTA provides that “No person may . . . condition the extension of credit to a

 consumer on such consumer’s repayment by means of preauthorized electronic fund

 transfers.” 15 U.S.C. § 1693k.

        79.94. Regulation E similarly provides that “No financial institution or other person

 may condition an extension of credit to a consumer on the consumer’s repayment by

 preauthorized electronic fund transfers[.]” 12 C.F.R. § 1005.10(e)(1).

        80.95. Regulation E defines “person” as “a natural person or an organization,

 including a corporation, government agency, estate, trust, partnership, proprietorship,

 cooperative, or association.” 12 C.F.R. § 1005.2(j).

        81.96. Regulation E defines “preauthorized electronic fund transfer” as “an

 electronic fund transfer authorized in advance to recur at substantially regular intervals.”

 12 C.F.R. § 1005.2(k).

        82.97. The Snap Defendants meet the definition of “person” in Regulation E.

        83.98. Preauthorized ACH debits from consumers’ bank accounts meet the

 definition of “preauthorized electronic fund transfer” in Regulation E.

                                  TILA AND REGULATION Z

         15.    TILA defines “credit” as “the right granted by a creditor to a debtor to
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  defer payment of debt or to incur debt and defer its payment.” 15 U.S.C. § 1602(f).

         16.    Under Regulation Z, a “creditor” includes “a person who regularly extends

  consumer credit that is subject to a finance charge or is payable by written agreement in

  more than four installments (not including a down payment), and to whom the

  obligation is initially payable, either on the face of the note or contract, or by agreement

  when there is no note or contract.” 12 C.F.R. § 1026.2(a)(17).

         17.    The Snap Defendants meet the definition of “creditor” under TILA and

  Regulation Z. The Snap Defendants’ Purchase Agreements feature a “finance charge”

  because they result in consumers paying more than double the cash price of the financed

  merchandise or service over the default 12-month payment period, and that cost is




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  imposed directly or indirectly by the Snap Defendants as an incident to the extension of

  credit. 12 C.F.R. § 1026.4(a). The Snap Defendants are also a “creditor” under TILA and

  Regulation Z because consumers make more than four installment payments to Snap

  Finance pursuant to the Purchase Agreement.

         18.    TILA and Regulation Z define “credit sale” as “a sale in which the seller is a

  creditor.” 15 U.S.C. § 1602(h); 12 C.F.R. § 1026.2(a)(16).

         19.    The Snap Defendants are a “seller” because they purchase merchandise or

  services from their merchant partners, which they then sell to consumers through their

  Purchase Agreements.

         20.    Regulation Z’s definition of “credit sale” includes leases, “(unless

  terminable without penalty at any time by the consumer) under which the consumer: (i)

  Agrees to pay as compensation for use a sum substantially equivalent to, or in excess of,

  the total value of the property and service involved; and (ii) Will become (or has the

  option to become), for no additional consideration or for nominal consideration, the

  owner of the property upon compliance with the agreement.” 12 C.F.R. § 1026.2(a)(16).

         21.    From January 2017 to at least March 2020, the Snap Defendants’

  Purchase Agreements only permitted consumers to terminate their Agreement at the

  conclusion of an automatically renewing 60-day term, and only if consumers were

  current on their payment obligations through the end of that term. Further, the Snap

  Defendants’ Purchase Agreements automatically renewed across the 12-month payment

  period, regardless of whether a consumer made their next scheduled payment. Upon

  completing required payments at the conclusion of this 12-month payment period,

  consumers paid approximately double the cash price of the financed merchandise or



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  service and became (or had the option to become) for no additional consideration the

  owner of their financed merchandise.

         22.     Snap Finance represented to consumers—both at the time of contracting

  and throughout the servicing process—that their Purchase Agreements were 12-month

  agreements.

         23.     From January 2017 to at least March 2020, the Snap Defendants were a

  creditor whose Purchase Agreements with consumers qualified as “credit” and “credit

  sales” under TILA and Regulation Z. 12 C.F.R. § 1026.2(a)(14), (16).

                                FCRA AND REGULATION V

       84.99. From January 2017 to at least June 2022, Snap Finance was a “furnisher”

 under FCRA and Regulation V because it “furnish[ed] information relating to consumers

 to one or more consumer reporting agencies for inclusion in a consumer report.” 12 C.F.R.

 § 1022.41(c).

                     THE SNAP DEFENDANTS’ VIOLATIONS OF LAW

                           COUNT I: VIOLATION OF THE CFPA
                              (Deceptive Acts or Practices)

        The Snap Defendants used the misleading phrase “100 Day Cash Payoff” in
                     advertisements for their Purchase Agreements.

       85.100.        The Bureau incorporates and re-alleges by reference Paragraphs 22–

 23, 24–3125–26, 27–34, and 84–90.88–92.

       86.101.        An act or practice is deceptive under the CFPA if (1) there is a

 representation, omission, or practice that (2) is likely to mislead consumers acting

 reasonably under the circumstances and (3) the representation, omission, or practice is

 material.

  reasonably under the circumstances and (3) the representation, omission, or practice is

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  material.




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       87.102.       From January 2017 through at least 2020, Snap Finance used print

 advertisements for the Snap Defendants’ financing for auto repair and services merchants

 to display in their stores that prominently featured the phrase “100 Day Cash Payoff,” and

 that omitted any further explanation of the Snap Defendants’ Purchase Agreement

 financing.

       88.103.       Snap Finance schedules consumers’ payments via preauthorized ACH

 debits to continue for the full 12 months of their Purchase Agreement.

       89.104.       To exercise a 100-day early payment discount option, which is always

 more than the “cash” price of the financed merchandise or serviceauto repair and services,

 consumers must schedule a new payment amount or make a balloon payment before their

 100-day deadline.

       90.105.       Consumers who miss this 100-day deadline must pay significantly

 more than the “cash” price under the terms of the Purchase Agreements.

       91.106.       Consumers who received the Snap Defendants’ financing for auto

 repairs and services reasonably believed they had entered into a 100-day financing

 agreement, where their automatically scheduled payments would fulfill their payment

 obligations by the close of the 100-day period.

       92.107.       Snap Finance’s use of the prominent phrase “100 Day Cash Payoff” in

 its advertisements was material and likely to mislead consumers acting reasonably under

 the circumstances as to the nature of the Snap Defendants’ Purchase Agreements.

       93.108.       As a result, the Snap Defendants engaged in deceptive acts or

 practices, in violation of Sections 1031 and 1036 of the CFPA. 12 U.S.C. §§ 5531(a),

 5536(a)(1)(B).

                           COUNT II: VIOLATION OF THE CFPA
                               (Abusive Acts or Practices)
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  The Snap Defendants’ Merchant Portal application and contracting process materially
    interfered with consumers’ ability to understand the terms and conditions of their
                                 Purchase Agreements.

       94.109.       The Bureau incorporates and re-alleges by reference Paragraphs 22–

 23, 32–3925–26, 35–44, and 84–9088–92.

       95.110.       An act or practice is abusive under the CFPA if it, among other things,

 “materially interferes with the ability of a consumer to understand a term or condition of a

 consumer financial product or service.” 12 U.S.C. § 5531(d)(1).

       96.111. From January 2017 to at least September 2020, Snap Finance designed and

 implemented a Merchant Portal application and contracting process for auto repairs and

 services that: (1) was, in most cases, completed entirely on aan auto repair merchant’s

 computer or tablet, and frequently led to merchants signing and submitting Purchase

 Agreements on behalf of consumers without consumers’ prior review of their Agreement;

 (2) relied on auto repair merchants to explain those Agreements while providing them

 with no written guidance for doing so; and (3) required approved consumers to pay a

 processing fee before receiving a complete summary of the terms of their Agreement and

 before seeing or signing their final Agreement.

       97.112.       Snap Finance’s Merchant Portal application and contracting process

 materially interfered with consumers’ ability to understand the terms and conditions of

 the Purchase Agreements, including that consumers were automatically scheduled to pay

 approximately double the cash price of their financed merchandise or serviceauto repair

 and services over the course of the Agreement, or that their automatic payments would

 continue past the cash price or the 100-day early payment deadline.




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       98.113.        As a result, the Snap Defendants engaged in abusive acts or practices,

 in violation of Sections 1031 and 1036 of the CFPA. 12 U.S.C. §§ 5531(a) and (d)(1),

 5536(a)(1)(B).

                   COUNT III: VIOLATION OF EFTA AND REGULATION E

   The Snap Defendants conditioned the extension of credit on consumers’ repayment by
                                 preauthorized EFTs.

       99.114.        The Bureau incorporates and re-alleges by reference Paragraphs 22–

 23, 40–5325–26, 45–63, and 91–9693–98.

       100.115.       Since at least January 2017, all versions of the Snap Defendants’

 Purchase Agreements have included a “Customer Authorization for Payments via ACH”

 provision, in which consumers must agree to the preauthorization of ACH debits for the

 purpose of making payments required under the Agreement. The Snap Defendants do not

 allow consumers to enter Purchase Agreements without agreeing to this provision.

       101.116.       Through this provision in their Purchase Agreements, the Snap

 Defendants condition the extension of credit on repayment by preauthorized electronic

 fund transfers.

       102.117.       As a result, the Snap Defendants violated EFTA and Regulation E. 15

 U.S.C. § 1693k; 12 C.F.R. § 1005.10(e)(1).

                           COUNT IV: VIOLATION OF THE CFPA

       103.118.       The Bureau incorporates and re-alleges by reference Paragraphs 22–

 23, 40–5325–26, 45–63, and 91–9693–98.

       104.119.       The CFPA defines “Federal consumer financial law” to include EFTA

 and its implementing Regulation E. 12 U.S.C. § 5481(14).

       105.120.       Under the CFPA, covered persons’ violations of Federal consumer

 financial law are violations of Section 1036 of the CFPA. 12 U.S.C. § 5536(a)(1)(A).
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        106.121.      As a result, the Snap Defendants’ violation of EFTA and Regulation E,

 as described in Count III, constitutes a violation of the CFPA. 12 U.S.C. § 5536(a)(1)(A).

                   COUNT V: VIOLATION OF TILA AND REGULATION Z

   The Snap Defendants failed to provide required disclosures for their consumer credit
                                      transactions.

         24.    The Bureau incorporates and re-alleges by reference Paragraphs 22–23,

  40–53, and 97–105.

         25.    TILA and Regulation Z require creditors to provide consumers with

  specified disclosures for closed-end credit transactions. 15 U.S.C. § 1638; 12 C.F.R.

  § 1026.18.

         26.    Among other requirements, Regulation Z prescribes the format of the

  disclosures, as well as disclosure of certain terms themselves, such as the annual

  percentage rate and finance charge. 12 C.F.R. §§ 1026.17, 1026.18.

         27.    From January 2017 to at least March 2020, the Snap Defendants were a

  creditor whose Purchase Agreements qualified as “credit” and “credit sales” under TILA

  and Regulation Z, see 12 C.F.R. § 1026.2(a)(14), (16), and their Agreements were

  therefore subject to TILA and Regulation Z’s disclosure requirements.

         28.    The Snap Defendants did not provide such disclosures to consumers who

  entered into Purchase Agreements.

         29.    As a result, the Snap Defendants violated TILA and Regulation Z. 15 U.S.C.

  § 1638; 12 C.F.R. §§ 1026.17, 1026.18.
                          COUNT VI: VIOLATION OF THE CFPA

         30.    The Bureau incorporates and re-alleges by reference Paragraphs 22–23,

  40–53, and 97–105.

         31.    The CFPA defines “Federal consumer financial law” to include TILA and

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  its implementing Regulation Z. 12 U.S.C. § 5481(14).




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         32.    Under the CFPA, covered persons’ violations of Federal consumer

  financial laws are violations of Section 1036 of the CFPA. 12 U.S.C. § 5536(a)(1)(A).

         33.    As a result, the Snap Defendants’ violation of TILA and Regulation Z, as

  described in Count V, constitutes a violation of the CFPA. 12 U.S.C. § 5536(a)(1)(A).

                          COUNT VII: VIOLATION OF THE CFPA
                              (Deceptive Acts or Practices)

    The Snap Defendants misrepresented consumers’ right to terminate their payment
                                    obligations.

       107.122.      The Bureau incorporates and re-alleges by reference Paragraphs 22–

 23, 54–7125–26, 64–75, and 84–9088–92.

       108.123.      Since at least January 2017, Snap Finance has misrepresented that

 consumers—including those current on their payment obligations— who used Purchase

 Agreements to finance auto repairs and services must continue making payments,

 including pursuant to that Agreement by misrepresenting that: (1) consumers may not

 terminate their Agreement future payment obligations absent a merchant agreeing to

 accept the merchandise as a return; (2) consumers cannot surrender their merchandise to

 Snap Finance, and thus must continue making payments (including for mattresses, tires,

 or merchandise damaged through no fault of the consumer); and (3) the “best” or “only”

 option for consumers who no longer want their financed merchandise is entering into a

 new “buy-back”“cancel” their prior transaction.

  settlement agreement with Snap Finance and keeping the merchandise.

       109.124.      In fact, under the Snap Defendants’ Purchase Agreements, consumers

 have the ability“Right to endTerminate” their future payment obligations, provided they

 are current at the end of a 60-day term, (or under the Snap Defendants’ more recent

 Purchase Agreements, “[a]t any time”), by “surrendering or returning” their financed

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 merchandise directly“Property” to Snap Finance, or to a place that Snap Finance

 designates.

       110.125.      Each of theseSuch misrepresentations waswere material and likely to

 mislead consumers acting reasonably under the circumstances.

       111.126.      As a result, the Snap Defendants engaged in deceptive acts or

 practices, in violation of Sections 1031 and 1036 of the CFPA. 12 U.S.C. §§ 5531(a),

 5536(a)(1)(B).

                        COUNT VIIIVI: VIOLATION OF THE CFPA
                             (Deceptive Acts or Practices)

   The Snap Defendants misrepresented consumers’ payment obligations and threatened
                 actions the Snap Defendants do not take in collections.

       112.127.      The Bureau incorporates and re-alleges by reference Paragraphs 22–

 23, 72–7825–26, 76–82, and 84–9088–92.

       113.128.      Since at least January 2017, Snap Finance has misrepresented in

 collection emails to consumers who financed auto repairs and services that the company

 may imminently take “further action” due to a consumer’s non-payment under their

 Purchase Agreement.

       114.129.      In fact, since at least January 2017, Snap Finance has not forcibly

 repossessed merchandise“Property” due to non-payment, or otherwise taken legal action

 against a consumer due to non-payment under a Purchase Agreement.

       115.130.      Further, despite instructing past-due consumers in those emails to

 “RETURN TO US the merchandise,” the Snap Defendants’ Purchase Agreements, along

 with the Snap Finance’s internal policies and procedures, prevented those consumers who

 financed auto repairs and services from surrendering or returning their financed

 merchandise“Property” directly to Snap Finance while past-due.

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        34.    Such misrepresentations are material, and are likely to mislead consumers

  acting reasonably under the circumstances.

        35.    Since at least January 2017, Snap Finance has also misrepresented

  consumers’ payment obligations under their Purchase Agreements by demanding

  payments from consumers that they did not owe or were not due, including to

  consumers who had already completed their payment obligations, to consumers who




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   were current on their payment obligations, and to consumers who had yet to, or had

   just received, their financed merchandise.

         116.131.      Likewise, Such misrepresentations are material, and are likely to

  mislead consumers acting reasonably under the circumstances.

         117.132.      As a result, the Snap Defendants engaged in deceptive acts or

  practices, in violation of Sections 1031 and 1036 of the CFPA. 12 U.S.C. §§ 5531(a),

  5536(a)(1)(B).

               COUNT IXVII: VIOLATION OF FCRA AND REGULATION V

    The Snap DefendantsFinance failed to establish and implement reasonable written
       policies and procedures concerning the accuracy and integrity of consumer
                            information that they furnished.

         118.133.      The Bureau incorporates and re-alleges by reference Paragraphs

  22–23, 79–18–20, 83–87, and 106.99.

         119.134.      Section 1022.42(a) of Regulation V, the implementing regulation of

  FCRA, 15 U.S.C. § 1681 et seq., requires a furnisher to establish and implement

  reasonable written policies and procedures regarding the accuracy and integrity of the

  consumer information that it furnishes to a consumer reporting agency, and further

  provides that the policies and procedures must be appropriate to the nature, size,

  complexity, and scope of each furnisher’s activities. 12 C.F.R. § 1022.42(a).

         120.135.      From January 2017 to at least June 2022, Snap Finance furnished

  consumer information about millions of Purchase Agreements and retail installment

  contracts that it serviced on behalf of Snap RTO and Snap Second Look.

         121.136.      From January 2017 to at least June 2022, given the size,

  complexity, and scope of Snap Finance’s furnishing activities, Snap Finance failed to

  establish or implement reasonable written policies and procedures regarding the

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  accuracy and integrity of the consumer information that it furnished to consumer

  reporting agencies.

         122.137.       Section 1022.42(b) of Regulation V requires furnishers to consider

  the guidelines in Appendix E of Regulation V in developing appropriate policies and

  procedures and to incorporate those guidelines where appropriate. 12 C.F.R. §

  1022.42(b).

         123.138.       Appendix E of Regulation V provides that, in developing its policies

  and procedures, a furnisher should address the following topics, among others, as

  appropriate: appropriate internal controls regarding the accuracy and integrity of

  furnished information, such as by verifying random samples of information provided to

  consumer reporting agencies; conducting a periodic evaluation of the furnisher’s own

  practices, investigations of disputed information, and corrections of inaccurate

  information; and maintaining records for a reasonable period in order to substantiate

  the accuracy of any information about consumers it furnishes that is subject to a direct

  dispute. Appendix E to 12 C.F.R. Part 1022.

         124.139.       From January 2017 to at least June 2022, Snap Finance failed to

  incorporate the elements set forth in Appendix E, as appropriate, in its policies and

  procedures governing its furnishing.

         125.140.       As a result, the Snap DefendantsFinance violated Regulation V. 12

  C.F.R. § 1022.42(a), (b).

                          COUNT XVIII: VIOLATION OF THE CFPA

         126.141.       The Bureau incorporates and re-alleges by reference Paragraphs

  22–23, 79–18–20, 83–87, and 106.99.



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          127.142.      The CFPA defines “Federal consumer financial law” to include

  FCRA and its implementing Regulation V. 12 U.S.C. § 5481(14).

          128.143.      Under the CFPA, covered persons’ violations of Federal consumer

  financial law are violations of Section 1036 of the CFPA. 12 U.S.C. § 5536(a)(1)(A).

          129.144.      As a result, the Snap Defendants’Finance’s violation of FCRA and

  Regulation V, as described in Count IXVII, constitutes a violation of the CFPA. 12 U.S.C.

  § 5536(a)(1)(A).

                                    PRAYER FOR RELIEF

          130.145.      The Bureau requests that the Court, as permitted by 12 U.S.C. §

  5565:

             a.      Permanently enjoin the Snap Defendants from committing future

                     violations of the CFPA, EFTA and Regulation E, TILA and Regulation

                     Z, and FCRA and Regulation V in connection with the advertising,

                     contracting, and servicing of Purchase Agreements;

             b.      Grant additional injunctive relief as the Court may deem just and

                     proper;

             c.      Award monetary relief, including but not limited to rescission or

                     reformation of the Purchase Agreements; the refund of monies paid;

                     restitution; disgorgement or compensation for unjust enrichment; and

                     the payment of damages;

             d.      Award the Bureau civil money penalties;

             e.      Award the Bureau the costs of bringing this action; and

             f.      Award such other and additional relief as the Court may determine to

                     be just and proper.

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  Dated: July 19, 2023August 15, 2024          Respectfully submitted,

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                                  Deborah Morris
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                                  /s/ Eric Mothander_______
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